Case 4:17-cV-03343 Document 1-2 Filed in TXSD on 11/02/17 Page 1 of 14

10/5/2017 4:47 P|V|

Chris Danie| - District C|erk Harris County
Enve|ope No. 19896003

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RECEIPT NO. 0.00 MTA
********** TR # 73416917
PLAINTIFF: LARUE, RUDOLPH C In The llth
vs, Judicial District Court
DEFENDANT: STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY of Harris County, Texas

llTH DISTRICT COURT
Houston, TX
CITATION

THE STATE OF TEXAS
County of Harris

 

  

FL:

TO: STATE FARM MUTUAL AUTOMOBILE INSURANCE COMPANY (AN INSURANCE §

CARRIER) MAY BE SERVED BY SERVING THROUGH ITS REGISTERED AGENT G§@

CORPORATION sERvIcE coMPANY rC/X`

211 E 7TH sT sTE 620 AUSTIN Tx 73701 - 3213

Attached is a copy of PLAINTIFF‘S ORIGINRL PETITI§§_ggQ_BEQQ§§§*§QB*QLQQLQ§HB§ ,YEV

0 U

This instrument was filed on the 2 st a e er 2 1 , in the above cited';‘®e number
and court. The instrument attached describes the claim against you_ § ';)`

YOU HAVE BEEN SUED, You may employ an attorney. If you or your attorne\ not file a
written answer with the District Clerk who issued this citation by lO:OO the Monday
next following the expiration of 20 days after you were served this citati§g%¢>and petition,

a default judgment may be taken against you. ° ‘\_
- - rs
'1‘0 oFFIcER SERVING; \<W\

. f“\
This citation was issued on 25th day of 5eptember, 2017, und&`\@ihand and

seal of said Court. \/
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`§. \s' c c

/H"“' l
L§§ued a!- rgqugst g;; off %\ CHRIS DANIEL K‘§§trict Clerk
LARUE, DAVID JOHN § § narris cas ., Texa-s
3220 BROADWAY sTREET ‘%_\ .}" 201 carol§ _ Houston, Texas 77002
HOUSTON, TX 77017 ~r \ "' P.O. '5]. H`ouston, Texas 77210)
Tel: (231) 922-4875 E“"/ lb _ ( 531 l
Ba NO_: 24029682 _ Generared 5‘©\ iLL, MARCELLA DIANA DBG//10778099

 

0FFICER/AUTHORIZEDY0;N RETURN
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Came to hand at o'clock __.M., on the 1 y of ,
Executed at (address) {©\\ in
County at ___ o'ciq_ _.M., on the ___ day of ,
, by delivering to §§ 1 defendant, in person, a
true copy of this Citation together wi"; ve accompanying ____ copy(ies) of the Petition

To certify which 1 affix my hand o ally this day of

§
FEE: s ' §§
Q;\

attached thereto and I endorsed onY.Ycopy of the Citation the date of delivery.

 

 

 

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¢\f§>% ___ Of Cnunty, Texas
§ '____'__~/
R,»
BY
Affial'\t Deputy » 4
On this day, , known to me to be the person whose

 

signature appears on Lhe foregoing return, personally appeared. After being by me duly sworn,
he/she stated that this citation was executed by him/her in the exact manner recited on the
return.

SWORN TO AND SUBSCRIBED BEFORE ME, On this day Of

 

Notary Public

EXH|B|T
N.INT.CITR.P *73416917.

Case 4:17-cV-03343 Document 1-2 Filed in TXSD on 11/02/17 Page 2 of 14

AFFIDAVIT OF SERVICE

State Of Texas In The ll th Judical Court Of
Harris County, Texas
Cause N'umber 201762464 Houston Tx
Plaintiff:
Rudolf C. LaRue §
VS. CKX(@}
Defendant: &`\\`,W
State F arm Mutual Insurance Co. °§5-)
§§
o @Z))

For: QS\
r)avid John LaRue <\\
3220 Broadway Street o ;@»
Houston, Texas 77017 §§
Bar n0.24029632 'I?¢?_.

Received By Ric.hardson lnvestigations on l-\ §;29 th day of Sept 2017 at 05:00 prn to
Be served to: State Fann lns. Co. By ser"` "r§e' egistered Agent Corporation Service
Cornpany 211 E 7ul St. Ste 620 Austin,@$s 78701
b _ _

I, Ed Richardson being duly sworn, d§ose and say that on the 03 rd.day of Oct 2017
at 09:18 am, I delivered to the wj§@ named Person a true copy of the
Plaintiffs Original Petitition _ Jr1-1¥:st For Disclosure on the date endorsed by me to
Corporation Service Compa(u§\~ 1 E 7th St. Ste 620 Austin, Texas 78701 By Reg Mail

\:~_/

I am over the age of eighle¥l{r, an authorized process server, not a party. and have no
interest in the above a \ .

 

 

Subscribed C§_§worn to before E`E]/R\ic!hardson

me On the 05§;¢},>.<11‘0¢r 2017 PSC# 1030

by the aff {§P\~ho is personally Expires 07/31/2020
know® c Richardson Investigations

. . -' . 22210 Woodrose Dr.
W@LL/RM ’(’S a\ Katy, TeXas 77450
N RY PUBLIC (281) 693-5384

__ MARJOR|E D. R|CHARDSON
'; Notory Pub|ic, Store of Te><os
§ My Commission Expires

Mav 29, 2018

 

    
 
  
    

 

Case 4:17-cV-03343 Document 1-2 Filed in TXSD on 11/02/17 Page 3 of 14

 

 

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SENDERZ COMPLETE THIS SECTION

 

COMPLETE THIS` SE(`TION Of`.' L)EI !\/ERY

   

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so that we can return fha card to you. - me__.._d"‘*e°~

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or on the front rf space parmlts.' nf`.T fl 3_2|]]]_

 

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; PS Form_ 3811. July’2015 _PSN 7530-02-000-9053

 

 

  
       
    
     
  

 
    

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9/21/2017 10:41 AM

 

` - chris namer - Disrricr clerk name coqu
Enve|ope No. 195755 9
2017-62464 / COUFf- 011 …,§r;:r;'s;rrr
CAUSE NO. -
RUDOLPH LARUE _ § IN THE |)ISTRICT COURT
Plaintiff, § '
§ . '
v. § JUl)lClAL DISTRICT
§
_ STATE FARM MUTUAL §
AUTOMOBILE INSURANCE §
COMPANV ` § '
Defendant. § HARRIS COUNTY, TEXAS -

PLA]NTIFF'S ORIGINAL PETITION AND RE.OUEST FOR DISCLOSURE
'§QEHE HONORABLE JUDGE OF SAlD COURT:

NOW COMES RUDOLPH LARUE, hereinafter called Plaintiff` complaining of and
about _STATE FARM MUTUAL AUTOMOBILE [NSURANCE COMPANY1 hereinafter called
Defendant, and for cause of action shows'unto the Court the following:

I. DISCOVERY CON'I`ROL PLAN

Plaintiff intends to conduct discovery under Level l3 of 'l`exas Rule of C.ivil Prncedure
190.3 and affirmatively pleads that she seeks damages`that`are within the jurisdictional limits ol`
the Court: Plaintiff seeks rnonetary relief of over $200,000 but not more than $1,00(),000.

l ll. PARTIES AND SERVICE

Plaintii"t`is an individual who is a resident of'l`exas. The last three digits of the Plaintiff`s

driver's license number are 502. The last three digits of the social security number for the

Pra_i-nrirf a_r_e si.*s.

Defendant, STATE FARM MUTUAL AUTOMOBILE INSLIRANCE, an insurance
carrier, may be served with process by serving its registered agent for service of process
CORPO_RATION SERVICE COMPANY 211 E. 7th St.,'Ste 620, Austin, 'l`exas 787()]-32|8.
Service of said Defendant as described above can bel effected by personal service or certified

r`naiI, return receipt requested

 

l’LAiNTlFF‘S ORlCINAL FETlT|ON AN|) REQ [lES'l' l"OR Dl$(fl.OSl!RlC l’ngc l

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III. JURISDIC'I`ION AND VENUE

The Court has jurisdiction over the subject matter, and the amount iri controversy is within
the jurisdictional limits of this court. This court has jurisdiction over the paities, and all or a
substantial part of the events occurred inn this county. Venue in Harris County is proper in this
cause
lV~ FAC_T_S

On or about Oetober 03, 2015, Plaintiff was operating a l999 Vo]vo S-70. Pltaintiff was
traveling North-in the 3400 Block of` North FWY, Harris County Texas. Suddenly and without
warning, un-insured motorist, MARCO 'l`ELL-O, while following too close, failed to keep a
proper lookout and struck the vehicle operated by Plaintift` l`rom behind MARCO Fl`l';`LLO failed
to control speed and failed to apply brakes causing him to crash into the rear of the vehicle
operated by Plaintiff. The impact was with such force to push the vehicle Plaintii`l` was driving
into another vehicle The crash resulting from the negligent actions of MARCO 'l`ELLO
proximately caused the injuries and damages complained `of in this petition

At the time of the incident. Plaintiff was covered by an un-insured motorist policy with
Defendant, STATE FARM MUTUAL AUTOMOBILE INSURANCE_ 'l`he collision in question
was caused by the negligence of the tin-insured motorist and_his negligence tvas the proximate

cause `of the severe injuries and damages suffered by the Plaintift`.

_ v`V. NEGLIGENCE OF UN-INSURED MOTOR]ST

 

Un-insured motorist, MARCO TELLO had a duty to exercise the degree of care that a
reasonably careful person would use to avoid harm to others under circumstances similar to those

described herein.

 

PLAlNTlFF‘S ORIG|NAL PETl'l`lON AND REQUBS”|' F`OR DlSCLOSl|Rl`:‘. I’agc 2

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Plaintift`s injuries were proximately caused by TELLO’S negligent, careless and reckless
disregard of said duty. The negligent, careless and reckless disregard of duty of TELLO,
consisted of, but is not limited to, the following acts and omissions:

A. Defendant, MARCO TELLO, failed t_o keep a proper lookout for other velricles;

B. Defendant, MARCO TELLO, was driving at an unsafe speed unlike a person of
ordinary prudence would have under,the same or similar circumstance;

Defendant, MARCO TELLO, failed to maintain safe distance from Piaintiff;

Dcfendant, MARCO TELLO_, failed to apply brakes;

eeo

Defendant, MARCO TELLO, failed to avoid the incident in question

 

VI. DECLARA'I`OR`Y JUDGM_ENT TO DE'I`ERMINE
RIGHTS UNDER THE UM»’U IM CON'I`RAC'I`

Plaintiff brings this Declaratory .ludgment action under Civi| Practice & Remedies Code
Ch 37 Uniform Declara'tory Judgments Aet to determine Plaintift`s rights under bet Ul\/I/UIM
insurance contract with STATE FARM MUTUAL AUTOl\/lOBlLE lNSURANCE (S’l "`Al E
FARM INSURANCE). `

On the date of the subject auto accident, October 03, 2015, Plaintiff was covered by an
insurance policy issued by Defendant, STATE FARM MU'I'UAL AUTOMOBILE lNSUl{ANC-E.
This policy included uninsured/underinsured motorists’ coverage Plaintiff is a valid “covcred
person” under this policy. On or about October 03, 2015, Plaintii"f was involved in a motor vehicle
accident in which the other driver was'an un-insured motorist The vehicle that P|aintii"f was
operating was insured by STATE FARM MU'I`UAL AU'l`OMOBll.E lNSURANCE for
$30,000.00. As a result of the accident caused by the negligence of a third party tortfeasor,

»;Plaintiff incurred~`dai`nages-far in excess'of the primary insurance limits. Plaintiff is entitled to the
benefits purchased by way of the Underinsured Motorists policy. .

Defendant, STAT_E FARM MUTUAL AUTOMOBILE INSURANC.E, was timely informed of
the accident and that Plaintirf intended to claim under uninsured/underinsured benefits All conditions
precedent have been performed or have occurred as required by Texas Rule ofCivil Proeedurc 54.

Plaintiff seeks a declaratory judgment from the Court that:

 

PLAINTH"PS oalr.‘mm_ vermont AND RF.QUF.sr ron ulsci.osuRs ._ :P,,ge _3_

.._,._

 

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l) Defendant, TELLO, was negligent and that said negligence was the` proximate cause of
Plaintift`s damages; '

2) Plaintiff`s damages exceed available insurance coverage under the primary policy; and

3) The amount of underinsured motorist benefits that Plaintit`f is entitled to recover under the
subject UlM/Ul\/I insurance contract with Defendant, S'l`A'l'E FARM l\/lU'l`U/\L
AUTOMOBILE INSUR.ANCE, after all applicable offsets and credits.

VI. Pl.AINTIFF‘S DAMAGESILOSSES
As a direct and proximate result of the occurrence made the basis of this lawsuit, Plainlil"t`
was caused to suffer severe bodily injuries, and to incur some 01' all of the following damagcsz
A. Reasonable and necessary medical care and expenses in the past. Thesc expenses
were incurred by Plaintiff, RUDOLPH LARUE, for the necessary care and
treatment of the injuries resulting from the accident complained of herein and such
charges are reasonable and customary charges for such services in the'County in

which they were received;

B. Reasonable and necessary medical care and expenses which will in all reasonable -
probability be incurred in the l`uture;

C. Physical pain and suffering in the past and future;
_ D. Physical Impairment in the past and future;
E. Mcntal anguish in the past and future', and,
F. Loss of earning capacity past and future
Plaintiff seeks damages that are within the jurisdictional limits of the Court: Plaintiff

seeks monetary relief of over 3200,000 but not more than $1,000,000; and l"or all other relief to

 

ilwhich the Plaintiff~ may`~be~entitled.
vn. neouesr ron nlscLosuRa
Pursuanr to nine 194, oerenaam, stare FARM Mur‘uAL Autoivtoau,i;

lNSURANCE, is Requcsted to Disclose, within 50 (tifty) days of service of this rcquest, the

 

PLAINTIFF‘S ORlGlNAl, PET|T|ON AND REQUEST FOR DlSCL()Sl|Rl"`, Pnge 4

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information and material described in Rule 194.2 (a)~(c), (e)-(i) & (l) ot` the ’l`exas Rules of Civil

Procedure.

vIH. males

WHEREFORE, PREMISES CONSIDERED, Plaintiff` respectfully asks that the

Defendant be cited to appear and answer and that upon a final hearing of thc cause, judgment be

entered for the Plaintiff against Defenda.nt for some or all of the following damages:

a) _ Physical pain and suffering in the past and future;

b) Mental anguish in the.past and future',

c) Physical impairment in the past and future',

d) Reasonable and necessary medical expenses in the past and future',
e) Costs of suit;

f) Prejudgment and post-judgment interest;

g) All other and further relief, in law and in equity, to which Plaintiff may be entitled.

By:

Respectful_ly submitted ,

LONCAR & ASSOCIATES
3220 Broadway Street
Houston, Texas 77701

(281) 922~4878 Telephone
(713) 649-3725 Facsimile

/s/David J. LaRue

David J. LaRue

State Bar§o. 24029682

dlarue r_Dbrianluncar.ccm
ATTORNEY FOR PLAIN'I`[FF

 

_._ _____,___,..._,._

PLA|NT!FF‘S ORIGINAL PET|TION AND REQUF.ST FOR D|SCL.()SURE

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10/30/2017 3:34 PM

Chris Daniel - District Clerk Harris County
Enve|ope No. 20392853

By: GABR|ELA COX

Filed: 10/30/2017 3:34 Pl\/l

CAUSE NO. 2017-62464

RUDOLPH LARUE lN THE DlSTR|CT COURT OF

V. HARR|S COUNTY, TEXAS
STATE FARM MUTUAL
AUTOMOB|LE lNSURANCE

colleANY 11T" JuchlAL DlsTRlcT

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DEFENDA_NT’S OR|G|NAL ANSWER
TO THE HONORABLE JUDGE OF SAlD COURT:

COIV|ES NOW, STATE FARM MUTUAL AUTOMOB|LE lNSURANCE COMPANY,
(hereinafter “State Farm”), Defendant in the above-entitled and numbered cause, and files
this its Original Answer to Plaintiff’s Original Petition and all subsequent supplemental
and/or amended petitions filed against it and Would respectfully show the Court and Jury as
folloWs:

|.

Pursuant to the provisions of Ru|e 92 of the Texas Rules of Civi| Procedure,
Defendant denies each and every, all and singular, the allegations contained in the
Plaintiff’s Original Petition, and demands strict proof thereof

ll.

Defendant Would show that Plaintiff has failed to fulfill the conditions precedent for
bringing an uninsured motorist claim against Defendant. Specifically, P|aintiff has failed to
establish that he is legally entitled to recover damages from the owner or operator of an
uninsured motor vehicle because of bodily injury sustained by him, caused by an accident

Pan‘ C of the State Farm Texas Personal Auto Po//'cy.

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|||.

P|eading further, Defendant would show that it is entitled to all credits and offsets
allowed under the policy against any damages awarded by the jury. Such credits and
offsets include, but are not limited to, all Persona| injury Protection (PlP) payments
previously made by State Farm to Plaintiff, if any.

|V.

Defendant asserts that Plaintiff is not entitled to attorney fees in this case as there
has not yet been a showing of liability or damages entitling Plaintiff to recovery of
uninsured motorist benefits

V.

Defendant asserts that Plaintiff is not entitled to pre-judgment interest or any other
damages beyond the policy limits of uninsured motorist coverage under the subject
insurance contract.

V|.

Plaintiff’s right to recover medical expenses is limited by the provision of Tex. Civ.
Prac. & Rem. Code 41.0105. Plaintiff is only entitled to recover the amount paid or
incurred by or on behalf of the Plaintiff.

Vl|.

Defendant reserves the right to amend this Origina| Answer pursuant to the said
Rules of Civil Procedure.

WHEREFORE, PREM|SES CONS|DERED, Defendant pray that Defendant be
released and discharged of the charges filed against it, that Plaintiff takes nothing by

reason of this suit, and for such other and further relief to which Defendant may be justly

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entitled and for which Defendant will forever pray.

Respectfully submitted,

GERMER PLLC

BARBARA L. HACHENBURG
State Bar No. 08667070
America Tower

2929 Allen Parkway, Suite 2900
Houston, TX 77019

(713) 650-1313 - Te|ephone
(713) 739-7420 - Facsimi|e
bhachenburg@qermer.com

ATTORNEY FOR DEFENDANT

CERT|F|CATE OF S_ERV|CE_

l hereby certify that a true and correct copy of the foregoing has been served on all
counsel in accordance with Ru|es 21 and 21a of the Texas Ru|es of Civil Procedure, on

this 30th day of October, 2017.

BARBARA L. HACHENBURG

 

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HCDistrictclerk.com LARUE, RUDOLPH C vs. STATE FARM MUTUAL 11/2/2017
AUTOMOBILE INSURANCE COMPANY
Cause: 201762464 CDI: 7 Court: 011

APPEALS

No Appeals found.

COST STATMENTS

No Cost Statments found.

TRANSFERS
No Transfers found.

POST TRIAL WRITS
No Post Trial Writs found.

ABSTRACTS
No Abstracts found.

SETTINGS
No Settings found.

NOTICES
No Notices found.

SUMMARY

CASE DETAILS CURRENT PRESIDING JUDGE

File Date 9/21/2017 Court 011"‘

Case (Cause) Location Civil Intake lst Floor Address 201 CAROLINE (Floor: 9)

Case (Cause) Status Active - Civil §£g::%§%;;§);gooz

Case (Ca use) Type Motor Vehicle Accident JudgeName KRISTEN BRAUCHLE HAWKINS

Next/Last Setting Date N/A Court Type Civil

Jury Fee Paid Date 9/21/2017

ACTIVE PARTIES
Name Type Post Attorney

J d gm
LARUE, RUDOLPH C PLAINTIFF - ClVIL LARUE, DAVID
JOHN
11411 GREEN PLAZA DRIVE APT 3407, HOUSTON, TX 77038

STATE FARM MUTUAL AUTOMOBILE DEFENDANT - CIVIL HACHENBURG,
lNSURANCE COMPANY BARBARA L.

211 E 7TH STREET SUITE 620, AUSTIN, TX 78701

STATE FARM MUTUAL AUTOMOBILE REGISTERED AGENT
lNSURANCE COMPANY (AN lNSURANCE

http://WWW.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=PACJJYyIVY. .. 1 1/2/2017

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INACTIVE PARTIES
No inactive parties found.

JUD GMENT/EVENTS
Date Description Order Post Pgs Volume Filing Person
Signed Jdgm /Page Attorney Filing
10/30/2017 ANSWER ORIGINAL PETITION 0 HACHENBURG, STATE FARM
BARBARA L. MUTUAL
AUTOMOBILE
lNSURANCE
COMPANY
9/21/2017 ]URY FEE PAID (TRCP 216) 0
9/21/2017 ORIGINAL PETITION 0 LARUE, DAVID JOHN LARUE, RUDOLPH C
SERVICES
Type Status Instrument Person Requested Issued Served Returned Received Tracking Deliver
To
CITATION SERVICE ORIGINAL STATE FARM 9/21/2017 9/25/2017 10/3/2017 73416917 MAIL TO
RETURN/EXECUTED PETITION MUTUAL ATTORNEY
AUTOMOBILE
lNSURANCE
COMPANY
(AN
lNSURANCE
DOCUMENTS
Number Document Post Date Pgs
Jdgm
restricted Defendant's Original Answer 10/30/2017 3
restricted Certificate of Written Discovery 10/30/2017 2
restricted Citation 10/05/2017 3
restricted Plaintiffs Original Petition And Request For Disclosure 09/21/2017 5
~> restricted Civil Case Information Sheet 09/21/2017 1

http://Www.hcdistrictclerk.com/edocs/public/CaseDetailsPrinting.aspx?Get=PACJJYyIVY... 1 1/2/2017

